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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, CASE NUMBER:
PLAINTIFF 23 CR 169
Vv.
j DECLARATION RE PASSPORT AND
oe OTHER TRAVEL DOCUMENTS
DEFENDANT.

I, Michael Barzman , declare that

(Defendant/Material Witness)

I have never been issued any passport or other travel document by any country. I will not apply for a passport or
other travel document during the pendency of this case.

I have been issued a passport or other travel document(s). I will surrender my passport and all other travel
document(s) issued to me to the U.S. Pretrial Services Agency by the deadline imposed. I will not apply for a

passport or other travel document during the pendency of this case.

[J Iam unable to locate my passport(s) or other travel document(s). If I locate any passport or other travel
document issued to me, I will immediately surrender it to the U.S. Pretrial Services Agency. I will not apply for a

passport or other travel document during the pendency of this case.

[8% My passport and all other travel documents issued to me are in the possession of federal authorities. If any such
document is returned to me during the pendency of this case, I will immediately surrender it to the U.S. Pretrial

Services Agency. I will not apply for a passport or other travel document during the pendency of this case.

I declare under penalty of perjury that the foregoing is true and correct.
,20__23

Executed this_9th day of __ May
La Jolla, CA

at
(City and State) ve
ean

_ signature of Defendant/Material Witness

If the declarant is not an English speaker, include the following:
, am fluent in written and spoken English and

L
languages. I accurately translated this form from English into
on this date.

to declarant

Date:
Interpreter

CR-37 (05/15) DECLARATION RE PASSPORT AND OTHER TRAVEL DOCUMENTS

